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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                          )
                                                )
11380 SMITH RD LLC                              )       Case No. 18-10965-TBM
Tax ID / EIN: XX-XXXXXXX                        )
                                                )       Chapter 11
                                                )
                                                )
         Debtor.


             UNITED STATES TRUSTEE’S ENTRY OF APPEARANCE AND
                           REQUEST FOR NOTICES


         The United States Trustee (“UST”), by and through undersigned counsel, files this entry
of appearance and request for notices. Pursuant to Fed. R. Bankr. P. 9034(k), the UST requests
that all pleadings and notices filed in this case be served on the UST at the address set forth
below.


Dated: February 14, 2018                        Respectfully submitted,

                                                PATRICK S. LAYNG
                                                UNITED STATES TRUSTEE

                                                /s/ R. Samuel Boughner
                                                By: R. Samuel Boughner, AR#2010272
                                                Trial Attorney for the U.S. Trustee
                                                1961 Stout Street, Suite 12-200
                                                Denver, CO 80294
                                                (303) 312-7252
                                                (303) 312-7259 fax
                                                Samuel.Boughner@usdoj.gov
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                             CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the UNITED STATES
TRUSTEE’S ENTRY OF APPEARANCE AND REQUEST FOR NOTICES was served by
deposit in the United States Mail, postage prepaid, to the following parties:

Dated: February 14, 2018

11380 Smith Rd, LLC
11380 Smith Road
Aurora, CO 80010

Jeffrey Weinman
730 17th Street
Ste. 240
Denver, CO 80202

                                            /s/ Lauren Collins-Barron
                                            Office of the United States Trustee
